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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                    CASE NO. 3:14cr12/MCR

BRIAN J. DEWALD and
TYLER W. HARNESS
____________________         ~I




                           FINAL ORDER OF FORFEITURE

       THIS CAUSE CAME before the Court on the Motion of the United States of America

for a Final Order of Forfeiture. Being fully advised in the premises, the Court finds as

follows:

       WHEREAS, on March 31,2014, this Court entered a Preliminary Order of Forfeiture

against the following:

       A.     a four door 2006 Dodge with VIN 2D4FV47T96H154555;
       B.     $3,954.26 from Wells Fargo N.A. account ending in 4203;
       C.     $588.86 from Wells Fargo N.A. account ending in 0979;
       D.     $7,146.61 from Wells Fargo N.A. account ending in 0604;
       E.     $2,100.11 from Wells Fargo N.A. account ending in 6146;
       F.     $10,035.11 from Bank of America account ending in 6306;
       G.     $14,290.81 from Bank of America account ending in 8551;
       H.     $14,755.45 from Bank of America account ending in 2134; and
       I.     $12,195.69 from Bank of America account ending in 6001.


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       WHEREAS, pursuant to Rule G(4)(a)(iv)(C) of the Supplemental Rules for Certain

Admiralty or Maritime Claims and Asset Forfeiture Actions, notice of this forfeiture action

and of the intent of the United States of America to dispose of the property was published

on an official Internet government forfeiture site, www.forfeiture.gov, for at least 30

consecutive days, beginning on April 2,2014. Such notice informs all third parties oftheir

right to file a petition within sixty (60) days of the 'first date of publication setting forth their

interest in said property; and

       WHEREAS, no persons or entities having an interest in the above-referenced

property have filed petitions, it is hereby

       ORDERED, ADJUDGED and DECREED that the right, title and interest to the

above-referenced property is hereby condemned, forfeited and vested in the United States

of America and shall be disposed of in accordance with the law.

       DONE AND ORDERED this J!/!!:day of              F~014.




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